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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

THOMSON REUTERS ENTERPRISE                       )
CENTRE GMBH and WEST PUBLISHING                  )
CORPORATION,                                     )   C.A. No. 20-613-SB
                                                 )
                 Plaintiffs/Counterdefendants,   )   JURY TRIAL DEMANDED
                                                 )
        v.                                       )
                                                 )    PUBLIC VERSION
ROSS INTELLIGENCE INC.,                          )
                                                 )
                 Defendants/Counterclaimant.     )

          DECLARATION OF GABRIEL M. RAMSEY IN SUPPORT
  DEFENDANT/COUNTERCLAIMANT ROSS INTELLIGENCE INC.’S REPLY IN
 SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT ON ITS AFFIRMATIVE
                        DEFENSE OF FAIR USE


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Dated: February 13, 2023
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                           )
 CENTRE GMBH and WEST PUBLISHING                      )
 CORPORATION,                                         )   C.A. No. 20-613-SB
                                                      )
                 Plaintiffs/Counterdefendants,        )   JURY TRIAL DEMANDED
                                                      )
           v.                                         )
                                                           PUBLIC VERSION
                                                      )
 ROSS INTELLIGENCE INC.,                              )
                                                      )
                 Defendants/Counterclaimant.          )

          DECLARATION OF GABRIEL M. RAMSEY IN SUPPORT
  DEFENDANT/COUNTERCLAIMANT ROSS INTELLIGENCE INC.’S REPLY IN
 SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT ON ITS AFFIRMATIVE
                        DEFENSE OF FAIR USE

   I, Gabriel M. Ramsey, declare as follows:

      1.        I am a partner at Crowell & Moring, LLP, lead counsel of record for ROSS

Intelligence, Inc. I am an attorney, admitted to the California and District of Columbia and have

been admitted pro hac vice with this Court. I submit this Declaration in support of

Defendant/Counterclaimant ROSS Intelligence Inc.’s (“ROSS”) Reply In Support of Its Motion

for Summary Judgment on Its Affirmative Defense of Fair Use.

ROSS’s Classification Spreadsheet

      2.        Below is a modified chart comparing the LPO classifications that Plaintiffs claim

ROSS copied, the date those topics appeared in the West Key Number System, and the topics

ROSS created as part of its classifier project.

      3.        The first column represents the LPO classification topics as they appear in the LPO

Classification Spreadsheet. (See D.I. 281-30, Ex. 54; see also D.I. 281-3, Ex. 26 at . 41-43.)




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      4.      The second column shows the dates the topics in the first column were added to the

West Key Number System. (See D.I. 277, Exs. 4 & 5.)

      5.      The third column shows the topics ROSS created as part of its Classifier Project.

(See D.I. 278 ¶ 24.); see also D.I. 281-30, Ex. 54 at ROSS-010128683 (“    ” tab, listing “

               ”), ROSS-000203195-ROSS-000203196, ROSS-000177706-ROSS-000177707,

ROSS-000197279-ROSS-000197280, ROSS-000177720-ROSS-000177721.

  Subset Of Topics Chosen By       Date That Topics Were Added As          ROSS Topics Created For
   LegalEase For Work With          High Level Topics In The West           The Classifier Project
  ROSS and Which Plaintiffs              Key Number System
     Alleged Were Copied




                                              2
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 Subset Of Topics Chosen By   Date That Topics Were Added As   ROSS Topics Created For
  LegalEase For Work With      High Level Topics In The West    The Classifier Project
 ROSS and Which Plaintiffs          Key Number System
    Alleged Were Copied




                                       3
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      Subset Of Topics Chosen By   Date That Topics Were Added As   ROSS Topics Created For
       LegalEase For Work With      High Level Topics In The West    The Classifier Project
      ROSS and Which Plaintiffs          Key Number System
         Alleged Were Copied




///




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      I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct. Executed at San Francisco, California on February 13, 2023.



                                                       /s/ Gabriel M. Ramsey
                                                         Gabriel M. Ramsey




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